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Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
Nos., State Bar No. & Email Address
ELKINS KALT WEINTRAUB REUBEN GARTSIDE LLP
ROYE ZUR, State Bar No. 273875
rzur@elkinskalt.com
LAUREN N. GANS, State Bar No. 247542
lgans@elkinskalt.com
10345 W. Olympic Blvd.
Los Angeles, California 90064
Telephone: 310.746.4400
Facsimile: 310.746.4499


     Individual appearing without attorney
     Attorney for: Debtor and Debtor-in-Possession

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                      DIVISION

 In re:                                                                      CASE NO.: 8:25-bk-10542-TA
                                                                             CHAPTER: 11
MOWBRAY WATERMAN PROPERTY, LLC,
                                                                                        STATEMENT REGARDING
                                                                                         CASH COLLATERAL OR
                                                                                    DEBTOR IN POSSESSION FINANCING
                                                                                         [FRBP 4001; LBR 4001-2]

                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:
                                                              Debtor(s).



 Secured party(ies): Bank of the Sierra, a California corporation


The Debtor has requested the approval of either (1) a motion for use of cash collateral, or postpetition financing, or both,
or (2) through a separately-filed motion, a stipulation providing for the use of cash collateral, or postpetition financing, or
both. The proposed form of order on the motion or the stipulation contains the following provisions or findings of fact:
                                                                                                                           Page           Line No.
             Disclosures Tracking FRBP 4001(c)(1)(B)(i) through (xi) and (d)(1)(B)
                                                                                                                           No.:         (if applicable)
          (i): “[A] grant of priority or a lien on property of the estate under § 364(c) or (d)”                            4                    21
          (ii): “[T]he providing of adequate protection or priority for a claim that arose before the
          commencement of the case, including the granting of a lien on property of the estate
          to secure the claim, or the use of property of the estate or credit obtained under § 364
          to make cash payments on account of the claim”
                   Cross-collateralization, i.e., clauses that secure prepetition debt by postpetition
                   assets in which the secured party would not otherwise have a security interest
                   by virtue of its prepetition security agreement or applicable law
                   Roll-up, i.e., provisions deeming prepetition debt to be postpetition debt or using
                   postpetition loans from a prepetition secured party to pay part or all of that
                   secured party’s prepetition debt, other than as provided in § 552(b)
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             Grant a replacement lien in an amount in excess of the dollar amount of the lien
             on cash collateral as of the petition date
       (iii): “[A] determination of the validity, enforceability, priority, or amount of a claim that
                                                                                                                           3                  7
       arose before the commencement of the case, or of any lien securing the claim”
       (iv): “[A] waiver or modification of Code provisions or applicable rules relating to the
       automatic stay”
               Automatic relief from the automatic stay upon occurrence of certain events.
       (v): “[A] waiver or modification of any entity’s authority or right to file a plan, seek an
       extension of time in which the debtor has the exclusive right to file a plan, request the
       use of cash collateral under § 363(c), or request authority to obtain credit under § 364”
       (vi): “[T]he establishment of deadlines for filing a plan of reorganization, for approval of
       a disclosure statement, for a hearing on confirmation, or for entry of a confirmation
       order”
       (vii): “[A] waiver or modification of the applicability of nonbankruptcy law relating to the
       perfection of a lien on property of the estate, or on the foreclosure or other                                      4                  26
       enforcement of the lien”
       (viii): “[A] release, waiver, or limitation on any claim or other cause of action belonging
       to the estate or the trustee, including any modification of the statute of limitations or
       other deadline to commence an action”
       (ix): “[T]he indemnification of any entity”
       (x): “[A] release, waiver, or limitation of any right under § 506(c)”
              The granting of any lien on any claim or cause of action arising under § 506(c)
       (xi): “The granting of any lien on any claim or cause of action arising under §§ 544,
       545, 547, 548, 549, 553(b), 723(a), or 724(a)”
                                                                                                                        Page           Line No.
                        Additional Disclosures Required by LBR 4001-2
                                                                                                                        No.:         (if applicable)
       With respect to a professional fee carve out, disparate treatment for professionals
       retained by a creditors’ committee from that provided for the professionals retained by
       the debtor
       Pay down prepetition principal owed to a creditor
       Findings of fact on matters extraneous to the approval process




 03/17/2025         Roye Zur                                                         /s/ Roye Zur
 Date                      Printed Name                                                     Signature




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10345 W. Olympic Blvd., Los Angeles, California 90064


A true and correct copy of the foregoing document entitled (specify): STATEMENT REGARDING CASH COLLATERAL
OR DEBTOR IN POSSESSION FINANCING [FRBP 4001; LBR 4001-2] will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 18, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

      Lauren N Gans lgans@elkinskalt.com, TParizad@elkinskalt.com
      Queenie K Ng queenie.k.ng@usdoj.gov
      Ahren A Tiller ahren.tiller@blc-sd.com, 4436097420@filings.docketbird.com;brett.bodie@blc-
         sd.com;anika@blc-sd.com;derek@blc-sd.com;kreyes@blc-sd.com;megan@blc-sd.com;nicole@blc-
         sd.com;danny@blc-sd.com;angie@blc-sd.com;kreyes@blc-sd.com
      United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) March 18, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 18, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Honorable Theodor C. Albert, Chief Judge
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5085 / Courtroom 5B
Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 18, 2025             Lauren B. Wageman                                                   /s/ Lauren B. Wageman
 Date                          Printed Name                                                     Signature



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2. SERVED BY UNITED STATES MAIL:

Mowbray Waterman Property, LLC                      United States Trustee (SA)                          Acrisure SouthWest Region
686 E. Mill St.                                     411 W Fourth St., Suite 7160                        27174 Newport Rd Suite 3
San Bernardino, CA 92408-1610                       Santa Ana, CA 92701-4500                            Menifee, CA 92584-7384

Banderas Plumbing                                   Bank of the Sierra                                  Bank of the Sierra
26294 23rd St                                       26328 Citrus St                                     Elliott Miller
Highland, CA 92346-2016                             Valencia, CA 91355-5323                             PO Box 1930
                                                                                                        Portervilla, CA 93258-1930

Bank of the Sierra                                  Bank of the Sierra                                  California Fair Plan Property Ins
PO Box 1930                                         c/o Giannetta & Enrico, LLP                         3440 Flair Drive
Porterville, CA 93258-1930                          Attn: Jessica L. Giannetta                          El Monte, CA 91731-2823
                                                    7522 N. Colonial Ave., Suite 100
                                                    Fresno, CA 93711-5874

County of San Bernardino                            Daart Engineering                                   Franchise Tax Board Bankruptcy
Real Estate Services Department                     4100 Garner Rd                                      MS A340 PO Box 2952
385 N Arrowhead Avenue Third Floor                  Riverside, CA 92501-1004                            Sacramento, CA 95812-2952
San Bernardino, CA 92415-0180

Fullerton Lemann Schaefer Dominick                  Gloria Mowbray Sep Prp Trust co                     Hanover Insurance Group
PO Box 1271                                         Robin Mowbray                                       2 Macarthur Pl 200
San Bernardino, CA 92402-1271                       960 Sunset Hill Lane Redlands, CA                   Santa Ana, CA 92707-7703
                                                    92373-6963

Internal Revenue Service                            On Call Terminte Pest Control                       PNC Bank
PO Box 7346                                         PO Box 7667                                         901 Via Piemonte
Philadelphia, PA 19101-7346                         Redlands, CA 92375-0667                             Ontario, CA 91764-6596

PNC Bank                                            PNC Bank                                            Pennington LLP
Commercial Lending Operations                       PNC Bank Commercial Asset Team                      One Sansome Street Suite 3500
PO Box 747046                                       201 E Pine Street Suite 100                         San Francisco, CA 94104-4436
Pittsburg, PA 15274-7046                            Orlando, FL 32801-2714

Peters Jepson Partnership Inc                       Phoenix Traffic Management Inc                      Pino Tree Service Inc
24465 Via Arriba Linda                              686 E Mill Street Second Floor                      686 E Mill Street Second Floor
Yorba Linda, CA 92887-4908                          San Bernardino, CA 92408-1610                       San Bernardino, CA 92408-1610

Robin Mowbray                                       Ronnie D Jordan                                     SB Business Registration
960 Sunset Hill Ln                                  co Cantazarite Law Corp                             PO Box 1318
Redlands, CA 92373-6963                             2331 West Lincoln Avenue                            San Bernardino, CA 92402-1318
                                                    Anaheim, CA 92801-5132

Sacramento County Tax                               San Bernardino Cnty Tax Collector                   Soren McAdam
PO Box 508 S                                        268 W Hospitality Ln 1St Flr                        2068 Orange Tree Ln Suite 100
Scramento, CA 95812-0508                            San Bernardino, CA 92415-0900                       Redlands, CA 92374-4555

The Original Mowbrays Tree Service                  The Original Mowbrays Tree Service                  Torres Glass Window
686 E Mill St Second Floor                          CRO Force Ten Partners LLC                          738 S Waterman Av B28
San Bernardino, CA 92408-1610                       271 California Ave Suite 270                        San Bernardino, CA 92408-2364
                                                    Irvine, CA 92617



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Van Beurden Insurance Service Inc                   Wells Fargo Mortgage                                Ana Lidia Gomez
PO Box 67                                           PO Box 14411                                        c/o BLC Law Center, APC
Kingsburg, CA 93631-0067                            Des Moines, IA 50306-3411                           1230 Columbia St. Suite 1100 San
                                                                                                        Diego, CA 92101-8517

Jaime Rodriguez
c/o BLC Law Center
1230 Columbia St. Suite 1100
San Diego, CA 92101-8517




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